                              IN THE UNITED DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                          SOUTHERN DIVISION-AT CHATTANOOGA

     LAURA YARNELL, Trustee under the             )
     Trust of S. Cameron Yarnell for the          )
     children of S. Cameron Yarnell,              )
                                                  )
            Plaintiff,                            )   CIVIL DOCKET NO.: 1:09-CV-00049
                                                  )
     vs.                                          )   JUDGE VARLAN
                                                  )
     TRANSAMERICA LIFE INSURANCE                  )   MAGISTRATE CARTER
     COMPANY, SUNTRUST                            )
     INVESTMENT SERVICES, INC.,                   )   JURY TRIAL DEMANDED
                                                  )
            Defendants.                           )
                                                  )
                                                  )

                                      NOTICE OF APPEAL


            Notice is hereby given that Laura Yarnell, Trustee under the Trust of S. Cameron

     Yarnell for the children of S. Cameron Yarnell, Plaintiff in the above named case, hereby

     appeals to the United States Court of Appeals for the Sixth Circuit for the court’s

     memorandum opinions and orders identified in the record as Doc. Nos. 113, 114, 115,

     and 116. Specifically, Plaintiff appeals to the United States Court of Appeals for the Sixth

     Circuit from the court’s memorandum opinions and orders granting Transamerica Life

     Insurance Company’s Motion to Dismiss the Negligence Claim in Plaintiff’s Second

     Amended Complaint, SunTrust Investment Services, Inc.’s Motion to Dismiss,

     Transamerica Life Insurance Company’s Motion for Summary Judgment, and

     Transamerica Life Insurance Company’s Motion to Strike Plaintiff’s Response to the

     Reply Brief in Support of Motion for Summary Judgment entered in this action on the 9th

     day of March, 2011.




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                                                  Respectfully submitted,

                                                  BERKE, BERKE & BERKE


                                                  By: s/ Marvin B. Berke
                                                     Marvin Berke, BPR# 1740
                                                     Megan England Demastus, BPR#23167
                                                     420 Frazier Avenue
                                                     Post Office Box 4747
                                                     Chattanooga, TN 37405
                                                     (423) 266-5171- Telephone
                                                     (423) 265-5307- Facsimile
                                                     marvin@berkeattys.com
                                                     megan@berkeattys.com

                                                      Attorneys for Laura Yarnell


                                CERTIFICATE OF SERVICE

             I certify that the foregoing paper, along with copies of the documents were served
     electronically on the following on:

     D. Aaron Love, Esquire                        John E. Winters, Esquire
     Chambliss, Bahner & Stophel, P.C.             Kramer Rayson, LLP
     1000 Tallan Building                          Suite 2500 First Tennessee Plaza
     Two Union Square                              800 South Gay Street
     Chattanooga, TN 37402                         Post Office Box 629
                                                   Knoxville, TN 37901-0629

            This 6th day of April, 2010.


                                                  BERKE, BERKE & BERKE


                                                  By: s/ Marvin B. Berke
                                                      Marvin B. Berke, BPR#1740




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